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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UMOJA ERECTORS, LLC                           :      CIVIL ACTION
             Plaintiff(s),                    :
                                              :
              v.                              :
                                              :
D.A. NOLT, INC., et al.                       :
                   Defendant(s).              :      NO. 20-5046



                                 BENCH TRIAL NOTICE

       A BENCH TRIAL has been scheduled to commence on January 30, 2023, at 9:30 a.m.

in COURTROOM 10B before the Honorable Gene E.K. Pratter, United States Courthouse, 601

Market Street, Philadelphia, PA 19106.



                                              s/Susan Flaherty
                                              SUSAN FLAHERTY
                                              Civil Courtroom Deputy to the
                                              Honorable Gene E.K. Pratter
                                              United States District Court Judge




Date of Notice: July 26, 2022
Copies sent via ECF notification.
